Case 2:04-Cr-20398-BBD Document 38 Filed 07/07/05 Page 1 of 2 Page|D 57

 

IN THE UNITED STATES DISTRICT coURT '“'E`D avu££°'°'
FOR THE wEsTERN DISTRICT oF TENNESSEE ‘ -
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WUMEHAGGAD
UNITED STATES oF AMERICA, ) CEH§U&§BEHHCU}H
) WUOFNJ¢R
Plainciff, )
)
V- ) No. 04-20398'+4\
)
JAMES LONG, )
)
Defendant. )
)

 

ORDER TRANSFERRING CASE FOR DISPOSITION

 

On July 6, 2005, defendant James Long withdrew his plea of not
guilty and entered a plea of guilty as to Count l of the Indictment
in this case before the Honorable Bernice B. Donald. Accordingly,
this case is hereby TRANSFERRED to Judge Donald for sentencing,

which has been set for October 6, 2005, in Courtroom NO. 1.

IT IS SO ORDERED this f day Of JU.ly, 2005.

Om<@£l

JO PHIPPS MCCALLA
TED STATES DIS'I'RIC'I` JUDGE

 

Thie document entered on the docket sheet |n compliance .
with ama 55 and/or sa(b) FRCrP an ’Z 29 -Q§ jj

 

UNITED sATE DSTIIC COURT - WE"RNT DISTRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 38 in
case 2:04-CR-20398 Was distributed by faX, mail, or direct printing on
July 8, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

